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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF IDAHO

 K.W., by his next friend D.W, et al,              )
                                                   )        Case No. 1:12-cv-00022-BLW
                        Plaintiffs,                )        (lead case)
 vs.                                               )
                                                   )
 RICHARD ARMSTRONG, in his official capacity       )
 as Director of the Idaho Department of Health and )        Case No. 3:12-cv-00058-BLW
 Welfare, et al.,                                  )
                                                   )
                        Defendants.                )
 ___________________________________________ )              ORDER GRANTING JOINT
 TOBY SCHULTZ, et al.,                             )        MOTION TO MODIFY
                                                   )        AMENDMENT 1
                        Plaintiffs,                )
 vs.                                               )
                                                   )
 RICHARD ARMSTRONG, in his official capacity       )
 as Director of the Idaho Department of Health and )
 Welfare, et al.,                                  )
                                                   )
                        Defendants.                )
                                                   )

       Finding good cause therefore, and pursuant to the agreement of the parties,

       NOW THEREFORE IT IS HEREBY ORDERED that the Joint Motion to Modify

Amendment 1 (Dkt. 351) is GRANTED.

       IT IS FURTHER ORDERED, that the Class Action Settlement Agreement (Dkt. 306-1)

is hereby AMENDED consistent with the terms and agreements set forth in Exhibit A (Dkt.

351-1), which is fully incorporated herein by this reference.




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                                         DATED: April 11, 2019


                                         _________________________
                                         B. Lynn Winmill
                                         United States District Judge




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